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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

AMERICAN OVERSIGHT,                       )
                                          )
            Plaintiff,                    )
                                          )
            vs.                           )                  Civil Action No. 19-0912 (JDB)
                                          )
U.S. DEPARTMENT OF COMMERCE, et al.,      )
                                          )
            Defendants.                   )
_________________________________________ )

  DEFENDANTS’ UNOPPOSED SECOND MOTION FOR EXTENSION OF TIME TO
          ANSWER OR OTHERWISE RESPOND TO COMPLAINT

       Defendants, by and through undersigned counsel, move pursuant to Federal Rule of Civil

Procedure 6(b)(1) for an enlargement of time of ten (10) days, until June 13, 2019, to answer or

otherwise respond to the Complaint in this matter, and as grounds for this motion, state as

follows.

       1.      This action under the Freedom of Information Act (“FOIA”) was filed on April 1,

2019. ECF No. 1. On May 2, 2019, the Court granted Defendants’ motion to extend the answer

deadline to June 3, 2019.

       2.      Plaintiff’s Complaint involves sixteen different FOIA requests to fourteen

different defendant agencies. Several of the agency counsel are still in the process of researching

the applicable FOIA requests and, thus, undersigned counsel needs additional time to properly

prepare an answer or other responsive pleading.

       3.      In accordance with Local Civil Rule 7(m), undersigned counsel conferred with

Plaintiff’s counsel about the requested extension of time. Plaintiff does not oppose the request

for enlargement.
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       4.      This is the second request for extension made by Defendants with respect to their

deadline to respond to the Complaint.

       5.      A proposed order is attached.

Dated: June 3, 2019                            Respectfully submitted,

                                               JESSIE K. LIU, D.C. Bar #472845
                                               United States Attorney

                                               DANIEL F. VAN HORN, D.C. Bar #924092
                                               Chief, Civil Division

                                     By:        /s/ Jason T. Cohen
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                      IN THE UNITED STATES DISTRICT COURT
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AMERICAN OVERSIGHT,                       )
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            Plaintiff,                    )
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            vs.                           )                Civil Action No. 19-0912 (JDB)
                                          )
U.S. DEPARTMENT OF COMMERCE, et al.,      )
                                          )
            Defendants.                   )
_________________________________________ )

                                            ORDER

       Based upon consideration of Defendants’ Unopposed Second Motion for Extension of

Time to Answer or Otherwise Respond to Complaint, and for good cause shown, it is hereby

ORDERED that:

       1.      Defendants’ Motion is GRANTED;

       2.      The deadline for Defendants to file their Answer or to otherwise respond to the

Complaint is extended to June 13, 2019.

       SO ORDERED this _____ day of June, 2018.



                                                    ___________________________
                                                    JUDGE JOHN D. BATES
